         Case 1:21-cv-10862-RGS Document 13 Filed 10/06/21 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                )
CASHMAN EQUIPMENT CORP.,                        )
                                                )
       Plaintiff,                               )
vs.                                             )
                                                )      Civil Action No. 1:21-cv-10862-RGS
EMCs CARIBBEAN LTD., CRAIG                      )
NOBLETT, NERVIN WHEATLEY, and                   )
ASHBURN HARRIGAN,                               )
                                                )
       Defendants.                              )
                                                )

                         APPLICATION FOR ENTRY OF DEFAULT

       Plaintiff Cashman Equipment Corp. requests that the Clerk, pursuant to Fed. R. Civ. Pro.

Rule 55(a), enter defaults against Defendants, EMCS Caribbean Ltd. (“EMCS”), Craig Noblett

(“Noblett”), Nervin Wheatley (“Wheatley”), and Ashburn Harrigan (“Harrigan”).

       Each defendant has been properly served with process in compliance with both the

Federal Rules of Civil Procedure and The Convention on the Service Abroad of Judicial and

Extrajudicial Documents in Civil or Commercial Matters (the “Hague Service Convention”).

Proof of service has been demonstrated as follows:

                    •   Per Rec. Doc. 7, EMCs Caribbean Ltd. was served with process on August
                        23, 2021 and its deadline to answer or otherwise respond was September
                        13, 2021.

                    •   Per Rec. Doc. 10, Craig Noblett was personally served with process on
                        September 14, 2021 and his deadline to answer or otherwise respond was
                        October 5, 2021.

                    •   Per Rec. Doc. 11, Ashburn Harrigan was personally served with process
                        on September 14, 2021 and his deadline to answer or otherwise respond
                        was October 5, 2021.
         Case 1:21-cv-10862-RGS Document 13 Filed 10/06/21 Page 2 of 3




                   •   Per Rec. Doc. 12, Nervin Wheatley was personally served with process on
                       September 14, 2021 and his deadline to answer or otherwise respond was
                       October 5, 2021.

       More than 20 days has elapsed since service was accomplished on each of these

Defendants and none of the Defendants has filed an answer to the Complaint or any other

responsive pleading.

       WHEREFORE, Plaintiff Cashman Equipment Corporation requests that the Clerk enter

defaults against each Defendant into the record of this matter.



                                            CASHMAN EQUIPMENT CORP.,
                                            By its attorney,




                                            __/s/ Stephen W. Rider____________________
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                                            Stephen W. Rider, P.C.
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Dated: September 14, 2021




                                               -2-
           Case 1:21-cv-10862-RGS Document 13 Filed 10/06/21 Page 3 of 3




                                 CERTIFICATE OF SERVICE

         I, Stephen W. Rider, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF).



                                                           /s/ Stephen W. Rider        .
                                                       Stephen W. Rider




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